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                 American Express
                 P.O. Box 360001
                 Fort Lauderdale, FL
                 33336-0001


                 American Honda Finance Co
                 P.O. Box 729
                 Philadelphia, PA
                 19101-7829


                 ATT Mobility
                 P.O.Box 537104
                 Atlanta, GA 30353




                 BAC Home Loan Services
                 PO Box 650070
                 Dallas, TX75265-0070




                 Bank of America
                 P.O.Box 15019
                 Wilmington, DE 19886




                 Esther Fruend
                 1734 55 Street
                 Brooklyn, NY
                 12204


                 Internal Revenue Service
                 290 Broadway, 4th Floor
                 New York, NY 10007




                 JP Morgan Chase
                 P.O. Box 15019
                 Wilmington, DE
                 1986-5019


                 Lexus Financial
                 Bay Ridge Lexus
                 665 65th Street
                 Brooklyn, NY 11220
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                 Lord & Taylor
                 P.O. Box 981064
                 El Paso, TX 79998-1064




                 Macys
                 P.O. Box 8113
                 Mason, OH 45040




                 Nassau Emergency Medical
                 100 Port Washington Blvd.
                 Roslyn, NY 11576




                 NCO Financal Sys., Inc.
                 507 Prudential Road
                 Horsham, PA
                 19044


                 NCO Financial Sys., Inc.
                 507 Prudential Road
                 Horsham, PA 19044




                 NYS Dept. of Tax & Financ
                 Att: Office of Counsel
                 Building 9, W.A. Harriman
                 Albany, NY 12227


                 St. Francis Hospital
                 100 Port Washington Blvd.
                 Roslyn, NY 11576




                 Surgical Assoc.
                 Mt. Sinai Medical Center
                 PO Box 30668
                 New York, NY
                 1007-0668

                 Time Warner
                 c/o Credit Protect. Assoc
                 769 5th Ave.
                 Brooklyn, NY 11232
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                 T-Mobile Bankruptcy Team
                 P.O. Box 53410
                 Bellevue, WA
                 98015-53410


                 United Recovery Systems
                 P.O. Box 722929
                 Houston, TX
                 77272-2929


                 Verizon
                 Custodian of Record
                 P.O. Box 1001
                 TXD01613
                 San Angelo, TX 76902

                 Vlock & Assoc.
                 230 Park Ave.
                 New York, NY 10169
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                           UNITED STATES BANKRUPTCY COURT
                                EASTERN DISTRICT OF NEW YORK



                                         x

In Re:

                                                                                 Case No. 09-50349(cec)
Becalel Edelstein

Susan Edelstein                                                                  Chapter         13

                        Debtor(s)
                                         x




              VERIFICATION OF CREDITOR MATRIX/LIST OF CREDITORS


               The undersigned debtor(s) or attorney for the debtor(s) hereby verifies that the creditor
matrix/list of creditors submitted herein is true and correct to the best of his or her knowledge.




Dated: 1/18/2010



                                                          s/ Becalel Edelstein
                                                          Becalel Edelstein
                                                          Debtor



                                                          s/ Susan Edelstein
                                                          Susan Edelstein
                                                          Joint Debtor

                                                          s/David Carlebach,Esq.
                                                          David Carlebach
                                                          Attorney for Debtor




USBC-44                                                                                                Rev. 3/17/05
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B6A (Official Form 6A) (12/07)

In re:   Becalel Edelstein       Susan Edelstein                                                                           Case No. 09-50349(cec)
                                                                          ,
                                                                                                                                                       (If known)
                                                    Debtors



                                         SCHEDULE A - REAL PROPERTY




                                                                                       HUSBAND, WIFE, JOINT
                                                                                                                           CURRENT VALUE
                                                                                                                            OF DEBTOR'S




                                                                                          OR COMMUNITY
                                                                                                                             INTEREST IN
               DESCRIPTION AND                                                                                           PROPERTY, WITHOUT                    AMOUNT OF
                                                         NATURE OF DEBTOR'S
                 LOCATION OF                                                                                               DEDUCTING ANY                       SECURED
                                                        INTEREST IN PROPERTY                                              SECURED CLAIM
                  PROPERTY                                                                                                                                      CLAIM
                                                                                                                            OR EXEMPTION




 119 East 28th Street                              Fee Owner                                 W                                      $ 700,000.00                $ 584,365.45
 Brooklyn, NY 11210

 156 Forestburg Road                               Fee Owner                                   J                                     $ 45,000.00                    $     0.00
 Unit 6
 Monticello, NY 12701

                                                                               Total                              $ 745,000.00
                                                                                                              (Report also on Summary of Schedules.)
                       Case 1-09-50349-cec                     Doc 18        Filed 01/19/10      Entered 01/19/10 10:07:29



B6B (Official Form 6B) (12/07)

In re      Becalel Edelstein            Susan Edelstein                                ,              Case No. 09-50349(cec)
                                                                                                                         (If known)
                                                                 Debtors



                                          SCHEDULE B - PERSONAL PROPERTY




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF
                                                                                                                                        DEBTOR'S INTEREST




                                                                                                                   OR COMMUNITY
                                                                                                                                        IN PROPERTY, WITH-
                                                                           DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                     NONE

               TYPE OF PROPERTY                                                  OF PROPERTY                                               SECURED CLAIM
                                                                                                                                           OR EXEMPTION




  1. Cash on hand                                           Cash on hand                                                                             100.00
  2. Checking, savings or other financial                   Apple Bank                                                 J                               0.00
     accounts, certificates of deposit, or
     shares in banks, savings and loan, thrift,             4519 13th Ave.
     building and loan, and homestead                       Brooklyn, NY 11219
     associations, or credit unions, brokerage              Savings Account
     houses, or cooperatives.
                                                            xxx4519
        Checking, savings or other financial                HSBC Account                                               J                               0.00
        accounts, certificates of deposit, or
        shares in banks, savings and loan, thrift,          2030 Flatbush Ave.
        building and loan, and homestead                    Brooklyn, NY 11234
        associations, or credit unions, brokerage           Checking Account
        houses, or cooperatives.
                                                            xxxx6719
  3. Security deposits with public utilities,        X
     telephone companies, landlords, and
     others.
  4. Household goods and furnishings,                       Household furnishings, furniture, kitchenware              J                             500.00
     including audio, video, and computer
     equipment.
  5. Books, pictures and other art objects,          X
     antiques, stamp, coin, record, tape,
     compact disc, and other collections or
     collectibles.
  6. Wearing apparel.                                       Clothing                                                   J                             200.00
  7. Furs and jewelry.                                      Jewelry, Wedding Ring                                      J                             400.00
  8. Firearms and sports, photographic, and          X
     other hobby equipment.
  9. Interests in insurance policies. Name                  Hartford Casualty Insurance                               H                                0.00
     insurance company of each policy and
     itemize surrender or refund value of                   Life Insurance
     each.                                                  xxx481
                                                            (no cash surrender)
                                                            (doublecheck whether home or life insurance and
                                                            owner)
        Interests in insurance policies. Name               New York Life Insurance                                   H                           30,000.00
        insurance company of each policy and
        itemize surrender or refund value of                $30,000 cash surrender value
        each.
 10. Annuities. Itemize and name each                X
     issuer.
 11. Interests in an education IRA as defined        X
     in 26 U.S.C. § 530(b)(1) or under a
     qualified State tuition plan as defined in
     26 U.S.C. § 529(b)(1). Give particulars.
     (File separately the record(s) of any such
     interest(s). 11 U.S.C. § 521(c).)
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B6B (Official Form 6B) (12/07) -- Cont.

In re      Becalel Edelstein          Susan Edelstein                                   ,             Case No. 09-50349(cec)
                                                                                                                         (If known)
                                                                Debtors



                                          SCHEDULE B - PERSONAL PROPERTY
                                                                          (Continuation Sheet)




                                                                                                                 HUSBAND, WIFE, JOINT
                                                                                                                                        CURRENT VALUE OF
                                                                                                                                        DEBTOR'S INTEREST




                                                                                                                   OR COMMUNITY
                                                                                                                                        IN PROPERTY, WITH-
                                                                           DESCRIPTION AND LOCATION                                     OUT DEDUCTING ANY
                                                    NONE
              TYPE OF PROPERTY                                                   OF PROPERTY                                               SECURED CLAIM
                                                                                                                                           OR EXEMPTION




 12. Interests in IRA, ERISA, Keogh, or other              Charles Schwab IRA Rollover                                H                           47,765.00
     pension or profit sharing plans. Give
     particulars.                                          xxx4127
 13. Stock and interests in incorporated and               Compacks Inc.                                               J                      Unliquidated
     unincorporated businesses. Itemize.
                                                           1999 Flatbush Ave.
                                                           Brooklyn, NY 11234
                                                           Active
        Stock and interests in incorporated and            Worldwide Retail Sourcing, Ltd.                          W                         Unliquidated
        unincorporated businesses. Itemize.
                                                           1999 Flatbush Ave.
                                                           Brooklyn, NY 11234
                                                           Inactive
 14. Interests in partnerships or joint             X
     ventures. Itemize.
 15. Government and corporate bonds and             X
     other negotiable and nonnegotiable
     instruments.
 16. Accounts receivable.                           X
 17. Alimony, maintenance, support, and             X
     property settlements to which the debtor
     is or may be entitled. Give particulars.
 18. Other liquidated debts owed to debtor          X
     including tax refunds. Give particulars.
 19. Equitable or future interests, life estates,   X
     and rights or powers exercisable for the
     benefit of the debtor other than those
     listed in Schedule A - Real Property.
 20. Contingent and noncontingent interests         X
     in estate of a decedent, death benefit
     plan, life insurance policy, or trust.
 21. Other contingent and unliquidated              X
     claims of every nature, including tax
     refunds, counterclaims of the debtor,
     and rights to setoff claims. Give
     estimated value of each.
 22. Patents, copyrights, and other                 X
     intellectual property. Give particulars.
 23. Licenses, franchises, and other general        X
     intangibles. Give particulars.
 24. Customer lists or other compilations           X
     containing personally identifiable
     information (as defined in 11 U.S.C. §
     101(41A)) provided to the debtor by
     individuals in connection with obtaining a
     product or service from the debtor primarily
     for personal, family, or household
     purposes.
 25. Automobiles, trucks, trailers, and other       X
     vehicles and accessories.
 26. Boats, motors, and accessories.                X
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B6B (Official Form 6B) (12/07) -- Cont.

In re   Becalel Edelstein           Susan Edelstein                                ,            Case No. 09-50349(cec)
                                                                                                                   (If known)
                                                          Debtors



                                      SCHEDULE B - PERSONAL PROPERTY
                                                                    (Continuation Sheet)




                                                                                                               HUSBAND, WIFE, JOINT
                                                                                                                                      CURRENT VALUE OF
                                                                                                                                      DEBTOR'S INTEREST




                                                                                                                 OR COMMUNITY
                                                                                                                                      IN PROPERTY, WITH-
                                                                     DESCRIPTION AND LOCATION                                         OUT DEDUCTING ANY
                                               NONE
            TYPE OF PROPERTY                                               OF PROPERTY                                                   SECURED CLAIM
                                                                                                                                         OR EXEMPTION




 27. Aircraft and accessories.                 X
 28. Office equipment, furnishings, and        X
     supplies.
 29. Machinery, fixtures, equipment and        X
     supplies used in business.
 30. Inventory.                                X
 31. Animals.                                  X
 32. Crops - growing or harvested. Give        X
     particulars.
 33. Farming equipment and implements.         X
 34. Farm supplies, chemicals, and feed.       X
 35. Other personal property of any kind not   X
     already listed. Itemize.

                                                      2   continuation sheets attached                 Total                                  $ 78,965.00

                                                                                                           (Include amounts from any continuation sheets
                                                                                                           attached. Report total also on Summary of
                                                                                                           Schedules.)
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B6C (Official Form 6C) (12/07)


In re   Becalel Edelstein        Susan Edelstein                                          ,
                                                                                                       Case No.    09-50349(cec)
                                                                                                                               (If known)
                                                              Debtors



                       SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

Debtor claims the exemptions to which debtor is entitled under:                Check if debtor claims a homestead exemption that exceeds
(Check one box)                                                                $136,875
   11 U.S.C. § 522(b)(2)
  11 U.S.C. § 522(b)(3)


                                                                                               VALUE OF                      CURRENT
                                                           SPECIFY LAW
                                                                                               CLAIMED                  VALUE OF PROPERTY
        DESCRIPTION OF PROPERTY                           PROVIDING EACH
                                                                                              EXEMPTION                 WITHOUT DEDUCTING
                                                            EXEMPTION
                                                                                                                            EXEMPTION


Apple Bank                                  Debt. & Cred. Law § 283                                       0.00                                  0.00
4519 13th Ave.
Brooklyn, NY 11219
Savings Account
xxx4519
Cash on hand                                Debt. & Cred. Law § 283                                  100.00                                  100.00

Charles Schwab IRA Rollover                 Debt. & Cred. Law § 282, Ins. Law                     47,765.00                                47,765.00
xxx4127                                     §4607, CPLR §5205(c)
Clothing                                    Debt. & Cred. Law § 283                                  200.00                                  200.00

Hartford Casualty Insurance                 Ins. Law § 3212, CPLR § 5205(i)                               0.00                                  0.00
Life Insurance
xxx481
(no cash surrender)
(doublecheck whether home or
life insurance and owner)
Household furnishings,                      CPLR § 5205(a)(5)                                        500.00                                  500.00
furniture, kitchenware
HSBC Account                                Debt. & Cred. Law § 283                                       0.00                                  0.00
2030 Flatbush Ave.
Brooklyn, NY 11234
Checking Account
xxxx6719
Jewelry, Wedding Ring                       CPLR §5205(d)(3)                                         400.00                                  400.00

New York Life Insurance                     CPLR § 5205(i)                                        30,000.00                                30,000.00
$30,000 cash surrender value
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B6D (Official Form 6D) (12/07)


 In re   Becalel Edelstein       Susan Edelstein                                                              ,           Case No.           09-50349(cec)
                                                         Debtors                                                                                                           (If known)


                  SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS

                    Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                                     HUSBAND, WIFE, JOINT
               CREDITOR'S NAME AND                                                                      DATE CLAIM WAS                                                     AMOUNT OF
                 MAILING ADDRESS                                                                       INCURRED, NATURE                                                   CLAIM WITHOUT               UNSECURED




                                                                                                                                              UNLIQUIDATED
                                                                       OR COMMUNITY




                                                                                                                                CONTINGENT
                                                                                                                                                                                                      PORTION, IF

                                                          CODEBTOR




                                                                                                                                                             DISPUTED
             INCLUDING ZIP CODE AND                                                                       OF LIEN, AND                                                      DEDUCTING
               AN ACCOUNT NUMBER                                                                        DESCRIPTION AND                                                      VALUE OF                    ANY
              (See Instructions, Above.)                                                              VALUE OF PROPERTY                                                    COLLATERAL
                                                                                                        SUBJECT TO LIEN


 ACCOUNT NO. xxxx2644                                                    J                                                                                                        584,365.45                       0.00
                                                                                            Mortgage
 BAC Home Loan Services
                                                                                            119 East 28th Street
 PO Box 650070
                                                                                            Brooklyn, NY 11210
 Dallas, TX75265-0070
                                                                                            __________________________
                                                                                            VALUE $700,000.00

 United Recovery Systems
 P.O. Box 722929
 Houston, TX
 77272-2929
 ACCOUNT NO.                                                             J                                                                                                        131,578.73                       0.00
                                                                                            Judgment Lien
 Internal Revenue Service
                                                                                            __________________________
 290 Broadway, 4th Floor
                                                                                            VALUE $700,000.00
 New York, NY 10007




 0        continuation sheets
          attached
                                                                                            Subtotal
                                                                                            (Total of this page)
                                                                                                                                                                          $       715,944.18 $                      0.00



                                                                                            Total                                                                         $       715,944.18 $                     0.00
                                                                                            (Use only on last page)


                                                                                                                                                                        (Report also on Summary of (If applicable, report
                                                                                                                                                                        Schedules)                 also on Statistical
                                                                                                                                                                                                   Summary of Certain
                                                                                                                                                                                                   Liabilities and
                                                                                                                                                                                                   Related Data.)
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B6E (Official Form 6E) (12/07)

In re       Becalel Edelstein         Susan Edelstein                                   ,                             Case No.       09-50349(cec)
                                                                Debtors                                                                            (If known)


                SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

        Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.


TYPES OF PRIORITY CLAIMS (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)
        Domestic Support Obligations
     Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian, or
responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent provided in
11 U.S.C. § 507(a)(1).


        Extensions of credit in an involuntary case
     Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of the
appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

        Wages, salaries, and commissions
     Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to qualifying
independent sales representatives up to $10,950* per person earned within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

        Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).
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     Certain farmers and fishermen

     Claims of certain farmers and fishermen, up to $5,400* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).

     Deposits by individuals

      Claims of individuals up to $2,425* for deposits for the purchase, lease, or rental of property or services for personal, family, or household use,
that were not delivered or provided. 11 U.S.C. § 507(a)(7).

     Taxes and Certain Other Debts Owed to Governmental Units
     Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).

     Commitments to Maintain the Capital of an Insured Depository Institution
     Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of
Governors of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
§ 507 (a)(9).

     Claims for Death or Personal Injury While Debtor Was Intoxicated

     Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using alcohol, a drug, or
another substance. 11 U.S.C. § 507(a)(10).

     * Amounts are subject to adjustment on April 1, 2010, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.
                                                                   2 continuation sheets attached
                       Case 1-09-50349-cec                                     Doc 18                  Filed 01/19/10                             Entered 01/19/10 10:07:29


B6E (Official Form 6E) (12/07) – Cont.


In re     Becalel Edelstein          Susan Edelstein                                                                                                                         Case No.        09-50349(cec)
                                                                                                                    ,                                                                                   (If known)
                                                                      Debtors


               SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS
                                                                                                   (Continuation Sheet)

                                                                  Type of Priority: Taxes and Certain Other Debts Owed to Governmental Units




                                                                    HUSBAND, WIFE, JOINT
             CREDITOR'S NAME,                                                                  DATE CLAIM WAS                                                               AMOUNT             AMOUNT           AMOUNT




                                                                      OR COMMUNITY




                                                                                                                                                  UNLIQUIDATED
                                                                                                                                     CONTINGENT
              MAILING ADDRESS                                                                   INCURRED AND                                                                OF CLAIM         ENTITLED TO          NOT


                                                       CODEBTOR




                                                                                                                                                                 DISPUTED
            INCLUDING ZIP CODE,                                                                CONSIDERATION                                                                                  PRIORITY        ENTITLED TO
           AND ACCOUNT NUMBER                                                                     FOR CLAIM                                                                                                   PRIORITY, IF
           (See instructions above.)                                                                                                                                                                              ANY



 ACCOUNT NO.                                                          J
                                                                                                                                                                             62,324.02         62,324.02             0.00
                                                                                           Taxes
 NYS Dept. of Tax & Finance
 Att: Office of Counsel
 Building 9, W.A. Harriman
 Albany, NY 12227




Sheet no. 2 of 2 continuation sheets attached to Schedule of
                                                                                                                                    Subtotals
                                                                                                                        (Totals of this page)
                                                                                                                                                                     $      62,324.02 $         62,324.02 $           0.00
Creditors Holding Priority Claims


                                                                                                                                   Total
                                                                                            (Use only on last page of the completed
                                                                                            Schedule E. Report also on the Summary of
                                                                                                                                                                    $       62,324.02
                                                                                            Schedules.)
                                                                                                                                     Total
                                                                                            (Use only on last page of the completed                                                      $     62,324.02 $            0.00
                                                                                            Schedule E. If applicable, report also on the
                                                                                            Statistical Summary of Certain Liabilities
                                                                                            and Related Data. )
                      Case 1-09-50349-cec                   Doc 18                                    Filed 01/19/10                 Entered 01/19/10 10:07:29



B6F (Official Form 6F) (12/07)

In re    Becalel Edelstein          Susan Edelstein                                                                                       Case No. 09-50349(cec)
                                                                                                                 ,
                                                           Debtors                                                                                        (If known)

        SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS

                    Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                                       HUSBAND, WIFE, JOINT
                 CREDITOR'S NAME,                                                                                DATE CLAIM WAS                                                                         AMOUNT OF




                                                                         OR COMMUNITY




                                                                                                                                                                              UNLIQUIDATED
                                                                                                                                                                 CONTINGENT
                  MAILING ADDRESS                                                                                 INCURRED AND                                                                            CLAIM




                                                            CODEBTOR




                                                                                                                                                                                             DISPUTED
                INCLUDING ZIP CODE,                                                                            CONSIDERATION FOR
               AND ACCOUNT NUMBER                                                                                     CLAIM.
                (See instructions above.)                                                                     IF CLAIM IS SUBJECT TO
                                                                                                                 SETOFF, SO STATE

ACCOUNT NO.         xxxx1006                                           W                                                                                                                                    9,392.82
 American Express                                                                               Credit Card
 P.O. Box 360001
 Fort Lauderdale, FL
 33336-0001

 NCO Financal Sys., Inc.
 507 Prudential Road
 Horsham, PA
 19044
ACCOUNT NO.         xxxx3724                                X H                                                                                                  X                                         22,206.72
 American Honda Finance Corp.                                                                   2009 Honda Accord
 P.O. Box 729                                                                                   1,000 miles
 Philadelphia, PA
 19101-7829


ACCOUNT NO.         xxxx001-42                                         W                                                                                                                                      360.30
 ATT Mobility                                                                                   Cell Phone Services
 P.O.Box 537104
 Atlanta, GA 30353



ACCOUNT NO.         xxxx6749                                              J                                                                                                                                40,233.91
 Bank of America                                                                                Credit Card
 P.O.Box 15019
 Wilmington, DE 19886




                3    Continuation sheets attached

                                                                                                                                                                Subtotal                         $         72,193.75



                                                                                                                                                                                                 $
                                                                                                                                                                        Total
                                                                                                                  (Use only on last page of the completed Schedule F.)
                                                                                              (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                     Summary of Certain Liabilities and Related Data.)
                        Case 1-09-50349-cec                      Doc 18                                    Filed 01/19/10                 Entered 01/19/10 10:07:29


B6F (Official Form 6F) (12/07) - Cont.

In re      Becalel Edelstein          Susan Edelstein                                                                                          Case No. 09-50349(cec)
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        xxxx____                                                   J                                                                                                                                 8,200.00
 JP Morgan Chase                                                                                     Credit Card
 P.O. Box 15019
 Wilmington, DE
 1986-5019


 ACCOUNT NO.        xxxxBG902                                               W                                                                                                                                    3,715.04
 Lexus Financial                                                                                     Repossessed Car
 Bay Ridge Lexus
 665 65th Street
 Brooklyn, NY 11220


 ACCOUNT NO.        xxxx___                                                 W                                                                                                                                    1,039.06
 Lord & Taylor                                                                                       Credit Card
 P.O. Box 981064
 El Paso, TX 79998-1064



 ACCOUNT NO.        xxxx____                                                W                                                                                                                                      392.60
 Macys                                                                                               Credit Card
 P.O. Box 8113
 Mason, OH 45040



 ACCOUNT NO.        xxxx401                                                   H                                                                                                                                    542.00
 Nassau Emergency Medical PC                                                                         Medical Services
 100 Port Washington Blvd.
 Roslyn, NY 11576




Sheet no. 1 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $         13,888.70
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
                        Case 1-09-50349-cec                      Doc 18                                    Filed 01/19/10                 Entered 01/19/10 10:07:29


B6F (Official Form 6F) (12/07) - Cont.

In re      Becalel Edelstein          Susan Edelstein                                                                                          Case No. 09-50349(cec)
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        xxx1619                                                   H                                                                                                                                    250.00
 St. Francis Hospital                                                                                Medical Services
 100 Port Washington Blvd.
 Roslyn, NY 11576



 NCO Financial Sys., Inc.
 507 Prudential Road
 Horsham, PA 19044
 ACCOUNT NO.                                                                  H                                                                                                                                    650.00
 Surgical Assoc.                                                                                     Medical Services
 Mt. Sinai Medical Center
 PO Box 30668
 New York, NY
 1007-0668

 ACCOUNT NO.        xxxx9131                                                   J                                                                                                                                    67.28
 Time Warner                                                                                         Utilities
 c/o Credit Protect. Assoc
 769 5th Ave.
 Brooklyn, NY 11232


 ACCOUNT NO.        xxxx5379                                                  H                                                                                                                                    791.27
 T-Mobile Bankruptcy Team                                                                            Cell Phone Services
 P.O. Box 53410
 Bellevue, WA
 98015-53410




Sheet no. 2 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $          1,758.55
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6F (Official Form 6F) (12/07) - Cont.

In re      Becalel Edelstein          Susan Edelstein                                                                                          Case No. 09-50349(cec)
                                                                                                                      ,
                                                               Debtors                                                                                         (If known)

          SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
                                                                                                      (Continuation Sheet)




                                                                            HUSBAND, WIFE, JOINT
                   CREDITOR'S NAME,                                                                                   DATE CLAIM WAS                                                                         AMOUNT OF




                                                                              OR COMMUNITY




                                                                                                                                                                                   UNLIQUIDATED
                                                                                                                                                                      CONTINGENT
                    MAILING ADDRESS                                                                                    INCURRED AND                                                                            CLAIM




                                                                 CODEBTOR




                                                                                                                                                                                                  DISPUTED
                  INCLUDING ZIP CODE,                                                                               CONSIDERATION FOR
                 AND ACCOUNT NUMBER                                                                                        CLAIM.
                  (See instructions above.)                                                                        IF CLAIM IS SUBJECT TO
                                                                                                                      SETOFF, SO STATE

 ACCOUNT NO.        xxxx6887                                                  H                                                                                                                                    205.91
 Verizon                                                                                             Telephone Services
 Custodian of Record
 P.O. Box 1001
 TXD01613
 San Angelo, TX 76902

 ACCOUNT NO.        xxxx8224                                                  H                                                                                                                                    169.29
 Verizon                                                                                             Telephone Services
 Custodian of Record
 P.O. Box 1001
 TXD01613
 San Angelo, TX 76902

 ACCOUNT NO.                                                                   J                                                                                                                               185,999.52
 Vlock & Assoc.                                                                                      Promissory Note Judgment
 230 Park Ave.
 New York, NY 10169




Sheet no. 3 of 3 continuation sheets attached to Schedule of Creditors                                                                                               Subtotal                         $        186,374.72
Holding Unsecured
Nonpriority Claims


                                                                                                                                                                                                      $         274,215.72
                                                                                                                                                                             Total
                                                                                                                       (Use only on last page of the completed Schedule F.)
                                                                                                   (Report also on Summary of Schedules and, if applicable on the Statistical
                                                                                                                          Summary of Certain Liabilities and Related Data.)
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B6G (Official Form 6G) (12/07)


In re:   Becalel Edelstein       Susan Edelstein                                    ,        Case No.   09-50349(cec)
                                                        Debtors                                                  (If known)


 SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES

         Check this box if debtor has no executory contracts or unexpired leases.


                                                                                        DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                                DEBTOR'S INTEREST, STATE WHETHER LEASE IS FOR
              OF OTHER PARTIES TO LEASE OR CONTRACT.                                    NONRESIDENTIAL REAL PROPERTY. STATE CONTRACT
                                                                                            NUMBER OF ANY GOVERNMENT CONTRACT.


 American Honda Finance                                                      Lease of 2009 Honda Accord
 P.O. Box 7829                                                               Lessee: Esther Freund
 Philadelphia, PA                                                            Co-signer: Becalel Edelstein
 19101-7829
                 Case 1-09-50349-cec                  Doc 18     Filed 01/19/10   Entered 01/19/10 10:07:29



B6H (Official Form 6H) (12/07)


In re: Becalel Edelstein         Susan Edelstein                                  Case No.   09-50349(cec)
                                                                         ,                             (If known)
                                                       Debtors


                                            SCHEDULE H - CODEBTORS
         Check this box if debtor has no codebtors.




                   NAME AND ADDRESS OF CODEBTOR                                     NAME AND ADDRESS OF CREDITOR


   Esther Fruend                                                       American Honda Finance Corp.
   1734 55 Street                                                      P.O. Box 729
   Brooklyn, NY                                                        Philadelphia, PA
   12204                                                               19101-7829
                     Case 1-09-50349-cec                 Doc 18          Filed 01/19/10            Entered 01/19/10 10:07:29



B6I (Official Form 6I) (12/07)

 In re     Becalel Edelstein Susan Edelstein                                         ,                  Case No.      09-50349(cec)
                                                                 Debtors                                                               (If known)


            SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
The column labeled “Spouse” must be completed in all cases filed by joint debtors and by every married debtor, whether or not a joint petition is
filed, unless the spouses are separated and a joint petition is not filed. Do not state the name of any minor child. The average monthly income
calculated on this form may differ from the current monthly income calculated on Form 22A, 22B, or 22C.



 Debtor’s Marital
                                                                   DEPENDENTS OF DEBTOR AND SPOUSE
 Status:       Married
                                                RELATIONSHIP(S):                                                                  AGE(S):
                                          Daughter
                                          Daugter                                                                                                   17
 Employment:                                            DEBTOR                                                        SPOUSE
 Occupation                     Owner and Sales Agent                                             Owner
 Name of Employer               Compacks Inc.                                                     Compacks Inc.
 How long employed              2 years                                                            2 years
 Address of Employer            1999 Flatbush Ave.                                               1999 Flatbush Ave.
                                Brooklyn, NY 11234                                               Brooklyn, NY 11234
 INCOME: (Estimate of average or projected monthly income at time
              case filed)                                                                                    DEBTOR                          SPOUSE


 1. Monthly gross wages, salary, and commissions                                                    $                 3,433.04 $                    3,433.04
      (Prorate if not paid monthly.)
 2. Estimate monthly overtime                                                                       $                      0.00 $                        0.00

 3. SUBTOTAL                                                                                        $                3,433.04      $                3,433.04
 4. LESS PAYROLL DEDUCTIONS
         a. Payroll taxes and social security                                                       $                      0.00 $                        0.00
                                                                                                    $                      0.00 $                        0.00
         b. Insurance
         c. Union dues                                                                              $                      0.00 $                        0.00
         d. Other (Specify)                                                                         $                      0.00 $                        0.00

 5. SUBTOTAL OF PAYROLL DEDUCTIONS                                                                  $                      0.00 $                        0.00
 6. TOTAL NET MONTHLY TAKE HOME PAY                                                                 $                 3,433.04 $                    3,433.04
 7. Regular income from operation of business or profession or farm
         (Attach detailed statement)                                                                $                      0.00 $                        0.00
 8. Income from real property                                                                       $                      0.00 $                        0.00
 9. Interest and dividends                                                                          $                      0.00 $                        0.00
 10. Alimony, maintenance or support payments payable to the debtor for the
      debtor’s use or that of dependents listed above.                                              $                      0.00 $                        0.00
 11. Social security or other government assistance
 (Specify)                                                                                          $                      0.00 $                        0.00
 12. Pension or retirement income                                                                   $                      0.00    $                     0.00
 13. Other monthly income
 (Specify) Contributions from family and friends                                                   $                 7,254.54     $                      0.00
 14. SUBTOTAL OF LINES 7 THROUGH 13                                                                 $               7,254.54      $                      0.00
 15. AVERAGE MONTHLY INCOME (Add amounts shown on lines 6 and 14)                                   $               10,687.58 $                     3,433.04
 16. COMBINED AVERAGE MONTHLY INCOME: (Combine column                                                                   $ 14,120.62
 totals from line 15)
                                                                                                (Report also on Summary of Schedules and, if applicable, on
                                                                                                 Statistical Summary of Certain Liabilities and Related Data)
 17. Describe any increase or decrease in income reasonably anticipated to occur within the year following the filing of this document.:
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B6I (Official Form 6I) (12/07) - Cont.
 In re   Becalel Edelstein Susan Edelstein                    ,          Case No.   09-50349(cec)
                                                 Debtors                                       (If known)


         SCHEDULE I - CURRENT INCOME OF INDIVIDUAL DEBTOR(S)
 NONE
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B6J (Official Form 6J) (12/07)

  In re Becalel Edelstein Susan Edelstein                                            ,                          Case No.          09-50349(cec)
                                                          Debtors                                                                     (If known)

                 SCHEDULE J - CURRENT EXPENDITURES OF INDIVIDUAL DEBTOR(S)
         Complete this schedule by estimating the average or projected monthly expenses of the debtor and the debtor’s family at time case filed. Prorate
any payments made biweekly, quarterly, semi-annually, or annually to show monthly rate. The average monthly expenses calculated on this form may
differ from the deductions from income allowed on Form22A or 22C.
       Check this box if a joint petition is filed and debtor's spouse maintains a separate household. Complete a separate schedule of
       expenditures labeled "Spouse."

 1. Rent or home mortgage payment (include lot rented for mobile home)                                                        $                    4,379.49
      a. Are real estate taxes included?          Yes                     No
       b. Is property insurance included?         Yes                     No
 2. Utilities: a. Electricity and heating fuel                                                                                $                     725.00
               b. Water and sewer                                                                                             $                       0.00
               c. Telephone                                                                                                   $                     650.00
               d. Other Cable                                                                                                $                      130.00
 3. Home maintenance (repairs and upkeep)                                                                                     $                     100.00
 4. Food                                                                                                                      $                     850.00
 5. Clothing                                                                                                                  $                     310.00
 6. Laundry and dry cleaning                                                                                                  $                     100.00
 7. Medical and dental expenses                                                                                               $                     200.00
 8. Transportation (not including car payments)                                                                               $                     173.00
 9. Recreation, clubs and entertainment, newspapers, magazines, etc.                                                          $                      50.00
10. Charitable contributions                                                                                                  $                       0.00
 11. Insurance (not deducted from wages or included in home mortgage payments)
                 a. Homeowner’s or renter’s                                                                                   $                        0.00
                 b. Life                                                                                                      $                      240.00
                 c. Health                                                                                                    $                    1,493.61
                 d. Auto                                                                                                      $                      240.00
                 e. Other                                                                                                     $                        0.00
 12. Taxes (not deducted from wages or included in home mortgage payments)
 (Specify)                                                                                                                    $                       0.00
 13. Installment payments: (In chapter 11, 12, and 13 cases, do not list payments to be included in the plan)
                a. Auto                                                                                                       $                     259.00
                b. Other Children's Tuition                                                                                       $                  259.00
                              Home Security                                                                                       $                   30.00
                              Misc.                                                                                               $                  197.00
                              Monticello Home Maintenance Fee                                                                     $                  270.00
 14. Alimony, maintenance, and support paid to others                                                                         $                       0.00
 15. Payments for support of additional dependents not living at your home                                                    $                       0.00
 16. Regular expenses from operation of business, profession, or farm (attach detailed statement)                             $                       0.00
 17. Other                                                                                                                    $                        0.00

 18. AVERAGE MONTHLY EXPENSES (Total lines 1-17. Report also on Summary of Schedules and,
 if applicable, on the Statistical Summary of Certain Liabilities and Related Data.)                                          $                 10,656.10

 19. Describe any increase or decrease in expenditures reasonably anticipated to occur within the year following the filing of this document:


 20. STATEMENT OF MONTHLY NET INCOME
           a. Average monthly income from Line 15 of Schedule I                                                               $                 14,120.62
           b. Average monthly expenses from Line 18 above                                                                     $                 10,656.10
           c. Monthly net income (a. minus b.)                                                                                $                  3,464.52
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B6 Summary (Official Form 6 - Summary) (12/07)

                                                           United States Bankruptcy Court
                                                              Eastern District of New York


In re Becalel Edelstein         Susan Edelstein                                        ,                    Case No.     09-50349(cec)
                                                               Debtors
                                                                                                            Chapter       13

                                                    SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from Schedules A, B, D, E, F, I,
and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the debtor’s assets. Add the amounts of all claims from
Schedules D, E, and F to determine the total amount of the debtor’s liabilities. Individual debtors also must complete the “Statistical Summary of Certain Liabilities
and Related Data” if they file a case under chapter 7, 11, or 13.




      NAME OF SCHEDULE                     ATTACHED        NO. OF SHEETS                   ASSETS                      LIABILITIES                     OTHER
                                            (YES/NO)

 A - Real Property                            YES                        1       $           745,000.00

 B - Personal Property                        YES                        3       $            78,965.00

 C - Property Claimed
     as Exempt                                YES                        1

 D - Creditors Holding                        YES                        1                                    $             715,944.18
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                          YES                        3                                    $                62,324.02
     (Total of Claims on Schedule E)

 F - Creditors Holding Unsecured              YES                        4                                    $                274,215.72
     Nonpriority Claims

 G - Executory Contracts and                  YES                        1
     Unexpired Leases

 H - Codebtors                                YES                        1

 I - Current Income of                                                                                                                         $          14,120.62
     Individual Debtor(s)                     YES                        2

 J - Current Expenditures of                  YES                        1
     Individual Debtor(s)                                                                                                                      $          10,656.10

                                                                      18         $          823,965.00        $         1,052,483.92
                                    TOTAL
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Form 6 - Statistical Summary (12/07)

                                                      United States Bankruptcy Court
                                                       Eastern District of New York

In re   Becalel Edelstein       Susan Edelstein                                    ,
                                                                                                     Case No.    09-50349(cec)
                                                            Debtors                                  Chapter      13


          STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
           If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11 or 13, you must report all information requested below.


                Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
information here.


This information is for statistical purposes only under 28 U.S.C. § 159.



Summarize the following types of liabilities, as reported in the Schedules, and total them.



 Type of Liability                                                           Amount
 Domestic Support Obligations (from Schedule E)                             $ 0.00
 Taxes and Certain Other Debts Owed to Governmental Units (from
 Schedule E)                                                                $ 62,324.02

 Claims for Death or Personal Injury While Debtor Was
 Intoxicated (from Schedule E) (whether disputed or undisputed)             $ 0.00

 Student Loan Obligations (from Schedule F)                                 $ 0.00

 Domestic Support, Separation Agreement, and Divorce Decree
 Obligations Not Reported on Schedule E.                                    $ 0.00

 Obligations to Pension or Profit-Sharing, and Other Similar Obligations
 (from Schedule F)                                                          $ 0.00

                                                            TOTAL            $ 62,324.02

State the following:

 Average Income (from Schedule I, Line 16)                                  $ 14,454.08

 Average Expenses (from Schedule J, Line 18)                                $ 10,656.10
 Current Monthly Income (from Form 22A Line 12; OR, Form
 22B Line 11; OR, Form 22C Line 20 )                                        $ 0.00
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                                                       United States Bankruptcy Court
                                                        Eastern District of New York

In re   Becalel Edelstein       Susan Edelstein                                   ,
                                                                                                Case No.   09-50349(cec)
                                                                Debtors                         Chapter     13


State the following:

 1. Total from Schedule D, “UNSECURED PORTION, IF ANY” column
                                                                                            $

 2. Total from Schedule E, “AMOUNT ENTITLED TO PRIORITY”
 column.                                                                     $ 62,324.02
 3. Total from Schedule E, “AMOUNT NOT ENTITLED TO PRIORITY,
 IF ANY” column                                                                             $0.00
 4. Total from Schedule F                                                                   $274,215.72

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                               $274,215.72
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B6 Declaration (Official Form 6 - Declaration) (12/07)


  In re Becalel Edelstein         Susan Edelstein                                      ,                                Case No.   09-50349(cec)
                                                           Debtors                                                                         (If known)



                          DECLARATION CONCERNING DEBTOR'S SCHEDULES
                             DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR

     I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                        20
sheets, and that they are true and correct to the best of my knowledge, information, and belief.

Date: 1/18/2010                                                                Signature: s/ Becalel Edelstein
                                                                                            Becalel Edelstein
                                                                                                                        Debtor

Date: 1/18/2010                                                                Signature: s/ Susan Edelstein
                                                                                            Susan Edelstein
                                                                                                               (Joint Debtor, if any)
                                                                              [If joint case, both spouses must sign]


       DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP
                                                                     (NOT APPLICABLE)




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both. 18 U.S.C §§ 152 and 3571.
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B7 (Official Form 7) (12/07)


                                                   UNITED STATES BANKRUPTCY COURT
                                                        Eastern District of New York

In re:   Becalel Edelstein     Susan Edelstein                                                 Case No. 09-50349(cec)
                                                                           ,
                                                      Debtors                                                     (If known)




                                           STATEMENT OF FINANCIAL AFFAIRS

           1. Income from employment or operation of business
None      State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the
          debtor's business, including part-time activities either as an employee or in independent trade or business, from the
          beginning of this calendar year to the date this case was commenced. State also the gross amounts received during the two
          years immediately preceding this calendar year. (A debtor that maintains, or has maintained, financial records on the basis
          of a fiscal rather than a calendar year may report fiscal year income. Identify the beginning and ending dates of the debtor's
          fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing under chapter 12 or
          chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
          joint petition is not filed.)
           AMOUNT                           SOURCE                                         FISCAL YEAR PERIOD

           375.00                           2006 IRS Taxes                                 2006

           -67,044.00                       2008 IRS Taxes                                 2008

           9,443.00                         2007 IRSTaxes                                  2007

           2. Income other than from employment or operation of business
None       State the amount of income received by the debtor other than from employment, trade, profession, operation of the debtor's
           business during the two years immediately preceding the commencement of this case. Give particulars. If a joint petition is
           filed, state income for each spouse separately. (Married debtors filing under chapter 12 or chapter 13 must state income for
           each spouse whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

          AMOUNT                              SOURCE                                                               FISCAL YEAR PERIOD

           3. Payments to creditors

           Complete a. or b., as appropriate, and c.
None       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or
           services, and other debts to any creditor made within 90 days immediately preceding the commencement of this case unless
           the aggregate value of all property that constitutes or is affected by such transfer is less than $600. Indicate with an asterisk
           (*) any payments that were made to a creditor on account of a domestic support obligation or as part of an alternative
           repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing
           under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint petition is filed,
           unless the spouses are separated and a joint petition is not filed.)

           NAME AND ADDRESS OF                                  DATES OF                             AMOUNT                AMOUNT
           CREDITOR                                             PAYMENTS                             PAID                  STILL OWING
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                                                                                                                         2

None   b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90
       days immediately preceding the commencement of the case unless the aggregate value of all property that constitutes or is
       affected by such transfer is less than $5,475. If the debtor is an individual, indicate with an asterisk (*) any payments that
       were made to a creditor on account of a domestic support obligation or as part of an alternative repayment schedule under
       a plan by an approved nonprofit budgeting and credit counseling agency. (Married debtors filing under chapter 12 or chapter
       13 must include payments and other transfers by either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF CREDITOR                     DATES OF                               AMOUNT                 AMOUNT
                                                         PAYMENTS/                              PAID OR                STILL
                                                         TRANSFERS                              VALUE OF               OWING
                                                                                                TRANSFERS




None   c. All debtors: List all payments made within one year immediately preceding the commencement of this case to or for the
       benefit of creditors who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments
       by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       NAME AND ADDRESS OF CREDITOR                     DATE OF                                 AMOUNT                 AMOUNT
       AND RELATIONSHIP TO DEBTOR                       PAYMENT                                 PAID                   STILL OWING




       4. Suits and administrative proceedings, executions, garnishments and attachments
None   a. List all suits and administrative proceedings to which the debtor is or was a party within one year immediately preceding
       the filing of this bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is
       not filed.)
       CAPTION OF SUIT                                                         COURT OR AGENCY                       STATUS OR
       AND CASE NUMBER                     NATURE OF PROCEEDING                AND LOCATIO                           DISPOSITION
       Cadles of Grassy Meadows II,        Promissory Note Suit                NY State Supreme Court                Judgment
       L.L.C. vs. Charles B. Edelstein                                         Kings County
       a/k/a Becalel Edelstein
          15158/2008


None b. Describe all property that has been attached, garnished or seized under any legal or equitable process within one year
     immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include
     information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are
     separated and a joint petition is not filed.)
       NAME AND ADDRESS                                                                   DESCRIPTION
       OF PERSON FOR WHOSE                                    DATE OF                     AND VALUE OF
       BENEFIT PROPERTY WAS SEIZED                            SEIZURE                     PROPERTY

       5. Repossessions, foreclosures and returns
None   List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of
       foreclosure or returned to the seller, within one year immediately preceding the commencement of this case. (Married
       debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both spouses
       whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
                                                              DATE OF REPOSSESSION, DESCRIPTION
       NAME AND ADDRESS                                       FORECLOSURE SALE,              AND VALUE OF
       OF CREDITOR OR SELLER                                  TRANSFER OR RETURN             PROPERTY
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                                                                                                                        3

       6. Assignments and receiverships
None   a. Describe any assignment of property for the benefit of creditors made within 120 days immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either
       or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not
       filed.)
                                                                                          TERMS OF
       NAME AND ADDRESS                                     DATE OF                       ASSIGNMENT
       OF ASSIGNEE                                          ASSIGNMENT                    OR SETTLEMENT

None   b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within one year
       immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the
       spouses are separated and a joint petition is not filed.)


                                                NAME AND ADDRESS                                           DESCRIPTION
       NAME AND ADDRESS                         OF COURT                          DATE OF                  AND VALUE OF
       OF CUSTODIAN                             CASE TITLE & NUMBER               ORDER                    PROPERTY

       7. Gifts
None   List all gifts or charitable contributions made within one year immediately preceding the commencement of this case except
       ordinary and usual gifts to family members aggregating less than $200 in value per individual family member and charitable
       contributions aggregating less than $100 per recipient. (Married debtors filing under chapter 12 or chapter 13 must include
       gifts or contributions by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)


       NAME AND ADDRESS                         RELATIONSHIP                                               DESCRIPTION
       OF PERSON                                TO DEBTOR,                   DATE                          AND VALUE OF
       OR ORGANIZATION                          IF ANY                       OF GIFT                       GIFT

       8. Losses
None   List all losses from fire, theft, other casualty or gambling within one year immediately preceding the commencement
       of this case or since the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include losses by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

       DESCRIPTION                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
       AND VALUE OF                                  LOSS WAS COVERED IN WHOLE OR IN PART                         DATE OF
       PROPERTY                                      BY INSURANCE, GIVE PARTICULARS                               LOSS

       9. Payments related to debt counseling or bankruptcy
None   List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for
       consultation concerning debt consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within
       one year immediately preceding the commencement of this case.


       NAME AND ADDRESS                                     DATE OF PAYMENT,               AMOUNT OF MONEY OR
       OF PAYEE                                             NAME OF PAYOR IF               DESCRIPTION AND VALUE
                                                            OTHER THAN DEBTOR              OF PROPERTY
       David Carlebach                                      November 5, 2009               $2,500.00
       40 Exchange Place
       New York, NY
       10005
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       10. Other transfers
None   a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the
       debtor, transferred either absolutely or as security within two years immediately preceding the commencement of this case.
       (Married debtors filing under chapter 12 or chapter 13 must include transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                                                  DESCRIBE PROPERTY
       NAME AND ADDRESS OF TRANSFEREE,                                                            TRANSFERRED
       RELATIONSHIP TO DEBTOR                                DATE                                 AND VALUE RECEIVED




None   b. List all property transferred by the debtor within ten years immediately preceding the commencement of this case to a
       self-settled trust or similar device of which the debtor is a beneficiary.


       NAME OF TRUST OR OTHER                              DATE(S) OF                      AMOUNT OF MONEY OR DESCRIPTION
       DEVICE                                              TRANSFER(S)                     AND VALUE OF PROPERTY OR DEBTOR
                                                                                           INTEREST IN PROPERTY



       11. Closed financial accounts
None   List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed,
       sold, or otherwise transferred within one year immediately preceding the commencement of this case. Include checking,
       savings, or other financial accounts, certificates of deposit, or other instruments; shares and share accounts held in banks,
       credit unions, pension funds, cooperatives, associations, brokerage houses and other financial institutions. (Married debtors
       filing under chapter 12 or chapter 13 must include information concerning accounts or instruments held by or for either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                         TYPE OF ACCOUNT, LAST FOUR                  AMOUNT AND
       NAME AND ADDRESS                                  DIGITS OF ACCOUNT NUMBER,                   DATE OF SALE
       OF INSTITUTION                                    AND AMOUNT OF FINAL BALANCE                 OR CLOSING

       12. Safe deposit boxes
None   List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within
       one year immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13
       must include boxes or depositories of either or both spouses whether or not a joint petition is filed, unless the spouses are
       separated and a joint petition is not filed.)


       NAME AND ADDRESS                         NAMES AND ADDRESSES                DESCRIPTION                   DATE OF TRANSFER
       OF BANK OR                               OF THOSE WITH ACCESS               OF                            OR SURRENDER,
       OTHER DEPOSITORY                         TO BOX OR DEPOSITOR                CONTENTS                      IF ANY

       13. Setoffs
None   List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 days preceding
       the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information
       concerning either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)

                                                                       DATE OF                    AMOUNT OF
       NAME AND ADDRESS OF CREDITOR                                    SETOFF                     SETOFF
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       14. Property held for another person
None   List all property owned by another person that the debtor holds or controls.
       NAME AND ADDRESS                                       DESCRIPTION AND VALUE
       OF OWNER                                               OF PROPERTY                          LOCATION OF PROPERTY


       15. Prior address of debtor
None   If debtor has moved within three years immediately preceding the commencement of this case, list all premises which the
       debtor occupied during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also
       any separate address of either spouse.

       ADDRESS                                                          NAME USED                             DATES OF OCCUPANCY

       16. Spouses and Former Spouses
None   If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona,
       California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within eight years
       immediately preceding the commencement of the case, identify the name of the debtor 's spouse and of any former spouse
       who resides or resided with the debtor in the community property state.
       NAME


       17. Environmental Information.
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state or local statute or regulation regulating pollution, contamination, releases of
       hazardous or toxic substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium,
       including, but not limited to, statutes or regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or
       formerly owned or operated by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance,
       hazardous material, pollutant, or contaminant or similar term under an Environmental Law.

None
       a.      List the name and address of every site for which the debtor has received notice in writing by a governmental unit
       that it may be liable or potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the
       date of the notice, and, if known, the Environmental Law.



       SITE NAME AND                              NAME AND ADDRESS                    DATE OF                  ENVIRONMENTAL
       ADDRESS                                    OF GOVERNMENTAL UNIT                NOTICE                   LAW


None   b.   List the name and address of every site for which the debtor provided notice to a governmental unit of a release of
       Hazardous Material. Indicate the governmental unit to which the notice was sent and the date of the notice.



       SITE NAME AND                        NAME AND ADDRESS                     DATE OF                ENVIRONMENTAL
       ADDRESS                              OF GOVERNMENTAL UNIT                 NOTICE                 LAW
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None   c.     List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with
       respect to which the debtor is or was a party. Indicate the name and address of the governmental unit that is or was a party
       to the proceeding, and the docket number.



       NAME AND ADDRESS                           DOCKET NUMBER                                    STATUS OR
       OF GOVERNMENTAL UNIT                                                                        DISPOSITION


       18. Nature, location and name of business
None   a. If the debtor is an individual, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was an officer, director, partner, or managing
       executive of a corporation, partner in a partnership, sole proprietor, or was self-employed in a trade, profession, or
       other activity either full- or part-time within the six years immediately preceding the commencement of this case,
       or in which the debtor owned 5 percent or more of the voting or equity securities within the six years immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer identification numbers, nature of the businesses,
       and beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of
       the voting or equity securities, within the six years immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer identification numbers, nature of the business, and
       beginning and ending dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or
       equity securities within the six years immediately preceding the commencement of this case.
                                 LAST FOUR DIGITS
                                 OF SOCIAL SECURITY ADDRESS
       NAME                                                                             NATURE OF             BEGINNING AND ENDING
                                 OR OTHER INDIVIDUAL
                                                                                        BUSINESS              DATES
                                 TAXPAYER-I.D. NO.
                                 (ITIN)/ COMPLETE EIN
       Compacks, Inc.            260579795            1999 Flatbush Ave.                Sale of close out      06/01/2007
                                                      Brooklyn, NY                      merchandise
                                                                                                               12/01/2006
                                                      11234
       Worldwide Retail                               1999 Flatbush Ave.                Inactive               07/01/2006
       Sourcing                                       Brooklyn, NY
                                                                                                               12/01/2006
                                                      11234

None   b.      Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11
       U.S.C. § 101.


       NAME                                                                      ADDRESS
       19. Books, records and financial statements
None   a. List all bookkeepers and accountants who within two years immediately preceding the filing of this bankruptcy case kept
       or supervised the keeping of books of account and records of the debtor.

       NAME AND ADDRESS                                                          DATES SERVICES RENDERED

       Jacob Rosenberg, CPA                                                     1983-Present
       Bernath & Rosenberg
       1430 Broadway
       New York, NY
None   b. List all firms or individuals who within two years immediately preceding the filing of this bankruptcy case have audited
       the books of account and records, or prepared a financial statement of the debtor.

       NAME                       ADDRESS                                        DATES SERVICES RENDERED
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None   c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account
       and records of the debtor. If any of the books of account and records are not available, explain.

       NAME                                                                 ADDRESS
None   d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a
       financial statement was issued by the debtor within two years immediately preceding the commencement of this case.

       NAME AND ADDRESS                                                  DATE ISSUED
       20. Inventories
None   a. List the dates of the last two inventories taken of your property, the name of the person who supervised the
       taking of each inventory, and the dollar amount and basis of each inventory.

                                                                                         DOLLAR AMOUNT OF INVENTORY
       DATE OF INVENTORY                INVENTORY SUPERVISOR                             (Specify cost, market or other
                                                                                         basis)


None   b. List the name and address of the person having possession of the records of each of the inventories reported
       in a., above.

                                                                         NAME AND ADDRESSES OF CUSTODIAN
       DATE OF INVENTORY                                                 OF INVENTORY RECORDS

       21. Current Partners, Officers, Directors and Shareholders
None   a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the
       partnership.

       NAME AND ADDRESS                                        NATURE OF INTEREST                    PERCENTAGE OF INTEREST
None   b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or
       indirectly owns, controls, or holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                     NATURE AND PERCENTAGE
       NAME AND ADDRESS                                        TITLE                                 OF STOCK OWNERSHIP



       22. Former partners, officers, directors and shareholders
None   a. If the debtor is a partnership, list each member who withdrew from the partnership within one year immediately
       preceding the commencement of this case.

       NAME                                      ADDRESS                                                  DATE OF WITHDRAWAL




None   b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated
       within one year immediately preceding the commencement of this case.

                                                               TITLE                                 DATE OF TERMINATION
       NAME AND ADDRESS
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       23. Withdrawals from a partnership or distributions by a corporation
None   If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including
       compensation in any form, bonuses, loans, stock redemptions, options exercised and any other perquisite during one year
       immediately preceding the commencement of this case.


       NAME & ADDRESS                                                                              AMOUNT OF MONEY
       OF RECIPIENT,                                        DATE AND PURPOSE                       OR DESCRIPTION
       RELATIONSHIP TO DEBTOR                               OF WITHDRAWAL                          AND VALUE OF PROPERTY




       24. Tax Consolidation Group.
None   If the debtor is a corporation, list the name and federal taxpayer identification number of the parent corporation of any
       consolidated group for tax purposes of which the debtor has been a member at any time within six years immediately
       preceding the commencement of the case.

       NAME OF PARENT CORPORATION                             TAXPAYER IDENTIFICATION NUMBER (EIN)

       25. Pension Funds.
None   If the debtor is not an individual, list the name and federal taxpayer identification number of any pension fund to which the
       debtor, as an employer, has been responsible for contributing at any time within six years immediately preceding the
       commencement of the case.

       NAME OF PENSION FUND                                              TAXPAYER IDENTIFICATION NUMBER (EIN)




                                                                * * * * * *
   [if completed by an individual or individual and spouse]
   I declare under penalty of perjury that I have read the answers contained in the foregoing statement
   of financial affairs and any attachments thereto and that they are true and correct.

   Date 1/18/2010                                          Signature     s/ Becalel Edelstein
                                                           of Debtor     Becalel Edelstein


   Date 1/18/2010                                          Signature       s/ Susan Edelstein
                                                           of Joint Debtor Susan Edelstein
                                                           (if any)
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    B 201 (04/09/06)

                                       UNITED STATES BANKRUPTCY COURT
                                        EASTERN DISTRICT OF NEW YORK


                       NOTICE TO INDIVIDUAL CONSUMER DEBTOR UNDER § 342(b)
                                     OF THE BANKRUPTCY CODE
                 In accordance with § 342(b) of the Bankruptcy Code, this notice: (1) Describes briefly the services available from
    credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four types of bankruptcy proceedings
    you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the Attorney General may examine
    all information you supply in connection with a bankruptcy case. You are cautioned that bankruptcy law is complicated and
    not easily described. Thus, you may wish to seek the advice of an attorney to learn of your rights and responsibilities should
    you decide to file a petition. Court employees cannot give you legal advice.
    1. Services Available from Credit Counseling Agencies
             With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for
    bankruptcy relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit
    counseling and provides assistance in performing a budget analysis. The briefing must be given within 180 days
    before the bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by
    telephone or on the Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the
    United States trustee or bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the
    approved budget and credit counseling agencies.
              In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial
    management instructional course before he or she can receive a discharge. The clerk also has a list of approved
    financial management instructional courses.


    2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors
         Chapter 7: Liquidation ($245 filing fee, $39 administrative fee, $15 trustee surcharge: Total fee $299)

              1. Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts.
   Debtors whose debts are primarily consumer debts are subject to a “means test” designed to determine whether the case
   should be permitted to proceed under chapter 7. If your income is greater than the median income for your state of
   residence and family size, in some cases, creditors have the right to file a motion requesting that the court dismiss your
   case under § 707(b) of the Code. It is up to the court to decide whether the case should be dismissed.
              2. Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the
   right to take possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your
   creditors.
              3. The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found
   to have committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge
   and, if it does, the purpose for which you filed the bankruptcy petition will be defeated.
              4. Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you
   may still be responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support
   and property settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts
   which are not properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor
   vehicle, vessel, or aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud,
   breach of fiduciary duty, or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is
   not discharged.
       Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income ($235 filing fee, $39
administrative fee: Total fee $274)
             1. Chapter 13 is designed for individuals with regular income who would like to pay all or part of
    their debts in installments over a period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar
    amounts set forth in the Bankruptcy Code.
              2. Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe
    them, using your future earnings. The period allowed by the court to repay your debts may be three years or five years,
    depending upon your income and other factors. The court must approve your plan before it can take effect.
              3. After completing the payments under your plan, your debts are generally discharged except for domestic support
    obligations; most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not
    properly listed in your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term
    secured obligations.
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    Chapter 11: Reorganization ($1000 filing fee, $39 administrative fee: Total fee $1039)
         Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions
are quite complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.
    Chapter 12: Family Farmer or Fisherman ($200 filing fee, $39 administrative fee: Total fee $239)

         Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from
future earnings and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose
income arises primarily from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials

          A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of
perjury, either orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All
information supplied by a debtor in connection with a bankruptcy case is subject to examination by the Attorney General
acting through the Office of the United States Trustee, the Office of the United States Attorney, and other components and
employees of the Department of Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your
creditors, assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if
this information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and
the local rules of the court.

                                                         Certificate of Attorney

              I hereby certify that I delivered to the debtor this notice required by § 342(b) of the Bankruptcy Code.

David Carlebach                                                             s/David Carlebach,Esq.           1/18/2010
Printed Name of Attorney                                                    Signature of Attorney                        Date

Address:
Law Offices of David Carlebach
40 Exchange Place, Suite 1306
New York, New York 10005


212-785-3041

                                                        Certificate of the Debtor
    We, the debtors, affirm that we have received and read this notice.

Becalel Edelstein                                                   Xs/ Becalel Edelstein                    1/18/2010
                                                                     Becalel Edelstein
Susan Edelstein
                                                                     Signature of Debtor                         Date
Printed Name(s) of Debtor(s)
                                                                   X s/ Susan Edelstein                      1/18/2010
Case No. (if known)   09-50349(cec)                                  Susan Edelstein
                                                                     Signature of Joint Debtor                   Date
